            Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 1 of 33 Page ID #:1
 AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)        ‫ ܆‬Original      ‫ ܆‬Duplicate Original


                                 UNITED STATES DISTRICT COURT
                                                                                                               3/21/2022
                                                          for the                                                vam




                                             Central District of California

   United States of America
                                                                                        3/21/22
                    v.                                                                         slo



   '$9,'61(''21                                                                2:22-mj-01131-DUTY
                                                                    Case No.



                   Defendants.


                            CRIMINAL COMPLAINT BY TELEPHONE
                           OR OTHER RELIABLE ELECTRONIC MEANS

 ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI%HWZHHQ
 -XO\DQG$XJXVWLQWKH&RXQW\RI/RV$QJHOHVLQWKH&HQWUDO'LVWULFWRI&DOLIRUQLDWKH
 GHIHQGDQWYLRODWHG

       Code Section                                                    Offense Description

86& D  $             .QRZLQJO\HQJDJLQJLQFRQGXFWWKDWLQYROYHGWKHVDOHDQGSXUFKDVHRIWKHRIIHU
86& G  %             RIVDOHDQGSXUFKDVHRIDQGWKHLQWHQWWRVHOODQGSXUFKDVHZLOGOLIHZLWKDPDUNHW
                                    YDOXHLQH[FHVVRIDQGNQRZLQJO\LPSRUWLQJWUDQVSRUWLQJVHOOLQJ
                                    UHFHLYLQJDFTXLULQJDQGSXUFKDVLQJZLOGOLIHVSHFLILFDOO\QDWLYH&DOLIRUQLD
                                    UHSWLOHVDQGOLYHUHVWULFWHGVSHFLHVNQRZLQJWKDWVXFKZLOGOLIHZDVWUDQVSRUWHGLQ
                                    YLRODWLRQRI&DOLIRUQLDODZDOOLQYLRODWLRQRI7LWOH8QLWHG6WDWHV&RGH
                                    6HFWLRQV D  $  G  %  :LOGOLIH7UDIILFNLQJ
This criminal complaint is based on these fDFWV

           Please see attached affidavit.
                                                                                 /s/
           _ Continued on the attached sheet.
                                                                                Complainant’s signature

                                                                      7UDFH\*:RRGUXII6SHFLDO$JHQW
                                                                                 Printed name and title
  Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

   Date:             3/21/22
                                                                                       Judge’s signature

   City and state: Los Angeles, California                          Hon. -RKQ0F'HUPRWW, U.S. Magistrate Judge
                                                                                 Printed name and title
     Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 2 of 33 Page ID #:2




                                           AFFIDAVIT

I, Tracey Woodruff, being duly sworn, do hereby depose and state as follows:

                      I. INTRODUCTION AND AGENT BACKGROUND

1.        I am a Special Agent (“SA”) of the United States Fish and Wildlife Service (“USFWS”)

Office of Law Enforcement and have been since May 2016. Prior to this employment, I served as

a Special Agent with the National Oceanic Atmospheric Administration, National Marine

Fisheries Service, Office of Law Enforcement, from 2005 to 2016. Prior to that employment, I

was a Conservation Law Enforcement Officer with South Carolina Department of Natural

Resources from approximately 2001 to 2005. As a Special Agent with USFWS, I have received

specialized training in the enforcement and investigation of federal wildlife protection statutes and

regulations, as well as criminal investigative training at the Federal Law Enforcement Training

Center in Glynco, Georgia. As part of my current duties, I handle the investigation of wildlife

trafficking crimes, including illegal take and collection of reptiles, snakes, and other native,

protected, threatened, or endangered species. I have participated in undercover operations,

controlled buys of wildlife species, and am familiar with the methods used to transport wildlife to

evade law enforcement detection, including but not limited to false labeling of shipment and

transport documents. I am authorized by the Secretary of the Interior to enforce provisions, and

to execute search warrants, in furtherance of the enforcement of the Lacey Act, 16 U.S.C. § 3371

et seq.

                                 II. PURPOSE OF AFFIDAVIT

2.        This affidavit is made in support of a complaint and arrest warrant for DAVID

SNEDDON (“SNEDDON”) for knowingly engaging in conduct that involved the sale and


                                                 1
     Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 3 of 33 Page ID #:3




purchase of, the offer of sale and purchase of, and the intent to sell and purchase wildlife with a

market value in excess of $350, and knowingly importing, transporting, selling, receiving,

acquiring, and purchasing wildlife, specifically native California reptiles and live restricted

species, knowing that such wildlife was transported in violation of California law, all in violation

of Title 16, United States Code, Sections 3372(a)(2)(A), 3373(d)(1)(B) (Lacey Act).

3.        As explained further below, between July 28, 2020 and August 3, 2020, SENDDON

possessed and negotiated the sale of numerous reptiles of various native species of snakes,

scorpions, lizards, and geckos illegally collected and taken from California, and elsewhere, in an

undercover transaction for a price of $2,645 plus $100 for shipping on Delta Air Cargo with all

wildlife placed in a single packaged container. The California native reptiles were the Mojave

Shovel Nosed Snake, Blue Spec Rattlesnakes, Great Basin Gopher Snake, Long Nosed Snake,

Sonoran Lyre Snake, Western Diamondback Rattlesnake, Colorado Sidewinder, and the Mojave

Sidewinder. California live restricted species include, but are not limited to, Uganda Puff Adders

and African Bush Vipers. SNEDDON negotiated the sale, directed method of payment on Venmo,

and coordinated the transportation and shipment, including but not limited to the Sunday, August

2, 2020, flight on Delta Cargo Flight number DL 936 departing from Los Angeles International

Airport (LAX) in Los Angeles, California, within the Central District of California, and arriving

in Atlanta Georgia on August 3, 2020.

     4.      This affidavit is intended to show only that there is sufficient probable cause for the

     requested complaint and arrest warrant and does not set forth all of my knowledge about this

matter. The facts set forth in this affidavit are based on my own personal knowledge, knowledge

          obtained from other law enforcement officers, my review of relevant records, my




                                                   2
     Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 4 of 33 Page ID #:4




     communications with others who have knowledge of the events and circumstances described

                  herein, and my training and experience.III. CASE SUMMARY

5.       On July 5, 2020, based upon a complaint, I began an investigation into the illegal trafficking

of various species of native reptiles, which have been collected and taken from California, Arizona,

New Mexico, and Nevada, and subsequently shipped, bought, sold, and transferred in interstate

commerce from the state of California by a commercial distributor of native reptiles and snakes,

David SNEDDON, who worked out of his residence in Los Angeles, California, and other

locations, including but not limited to, Las Vegas, Nevada.

6.       The illegal trafficking of native reptiles and snakes in interstate commerce constitutes a

federal violation of the Lacey Act, as set forth in more detail below. As part of our investigation,

we have conducted seven undercover purchases and sales of native reptiles and snakes from the

target of our investigation, SNEDDON, who agreed to sell such native snakes and other reptiles,

including but not limited to Gila Monster, to a cooperating government informant while

conducting his illegal wildlife trafficking business out of his residence in Los Angeles, California.

During the course of this investigation, I learned that the target moved from his Los Angeles

residence to Las Vegas, Nevada, and his current legal address is a P.O. Box. SNEDDON continues

to utilize the Los Angeles International Airport as a primary shipping drop off location for his

wildlife trafficking shipments and transport.

          IV. STATUTORY FRAMEWORK IN SUPPORT OF PROBABLE CAUSE

7.       The Lacey Act, found at 16 U.S.C. §§ 3371–3378, makes it unlawful for one to import,

export, sell, acquire, or purchase fish, wildlife or plants that are taken, possessed, transported, or

sold in violation of U.S. law. Title 16, United States Code, Section 3372, entitled “Prohibited


                                                   3
     Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 5 of 33 Page ID #:5




Acts,” is a pertinent provision of the Lacey Act that makes clear that Lacey Act violations may be

predicated upon state law violations in which fish or wildlife are taken or possessed in violation

of applicable state law and then transported or sold in interstate commerce. Section (a) provides in

relevant part as follows:

         . . . It is unlawful for any person-- (1) to import, export, transport, sell, receive,
         acquire, or purchase any fish or wildlife or plant taken, possessed, transported, or
         sold in violation of any law, treaty, or regulation of the United States . . . ; [or] (2)
         to import, export, transport, sell, receive, acquire, or purchase in interstate or
         foreign commerce--(A) any fish or wildlife 1 taken, possessed, transported, or sold
         in violation of any law or regulation of any State or in violation of any foreign
         law[.] 16 U.S.C. § 3372(a) (emphasis added).


8.       Criminal punishments for the Lacey Act are set forth in Title 16, United States Code,

Section 3373, entitled “Penalties and sanctions.” That statute states in relevant part:

         (1)      Any person who— (A) knowingly imports or exports any fish or wildlife or
         plants in violation of any provision of this Act (other than subsections (b), (d), and
         (f) of section 3), or (B) violates any provision of this Act (other than subsections
         (b), (d), and (f) of section 3)) by knowingly engaging in conduct that involves the
         sale or purchase of, the offer of sale or purchase of, or the intent to sell or purchase,
         fish or wildlife or plants with a market value in excess of $350, knowing that the
         fish or wildlife or plants were taken, possessed, transported, or sold in violation of,
         or in a manner unlawful under, any underlying law, treaty or regulation, shall be
         fined not more than $ 20,000, or imprisoned for not more than five years or both.
         (2) Any person who knowingly engages in conduct prohibited by any provision of
         this chapter . . . and in the exercise of due care should know that the fish or wildlife
         were taken, possessed, transported, or sold in violation of, or in a manner unlawful
         under any underlying law, treaty, or regulation, shall be fined not more than
         $10,000, or imprisoned for not more than one year, or both.




1
  Under the Lacey Act, the term “fish or wildlife” means any wild animal, whether alive or dead,
including without limitation any wild mammal, bird, reptile, amphibian, fish, mollusk, crustacean,
anthropod, coelenterate, or other invertebrate, whether or not bred, hatched, or born in captivity,
and includes any part, product, egg, or offspring thereof. 18 U.S.C. § 3371(a).
                                                    4
     Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 6 of 33 Page ID #:6




9.       California state law, under California Code of Regulations (“CCR”) Title 14, Section

671(c)(7)(D), (E) and (G), restricts possession of select reptiles. 2 14 CCR § 671, entitled

“Importation, Transportation and Possession of Live Restricted Animals,” makes it unlawful to

import, transport, or possess live animals restricted by the regulations except under permit issued

by the department. California live restricted species, including Uganda Puff Adders and African

Bush Vipers.

10.      14 CCR § 40 provides that it is “unlawful to capture, collect, intentionally kill or injure,

possess, purchase, propagate, sell, transport, import or export any native reptile or amphibian, or

part thereof, except as provided in this chapter, Chapter 2 of this subdivision relating to

sportfishing and frogging, sections 650, 670.7, or 783 of these regulations, or as otherwise

provided in the Fish and Game Code or these regulations.” 14 CCR § 40(a). 3 See also 14 CCR

§ 43 (“Native reptiles may not be sold, possessed, transported, imported, exported or propagated

for commercial purposes, except as provided in sections 40(f) [pet shops] and 42 [commercial use

and possession of native rattlesnakes for biomedical and therapeutic purposes] . . .).

11.      14 CCR § 5.60 permits persons with a sportfishing license to take select reptiles, but places

restrictions on the number of reptiles that can be taken, the method in which they are captured, and

the location from which they are captured. Of note, Red Diamond rattlesnakes have a limit of zero

and, therefore, cannot be captured. See 14 CCR § 5.60(b)(65).



2
  This includes, but is not limited to, those reptiles in the Viperidae-Adders and Vipers family,
Crotalidae-Pitvipers family, and Helodermatidae (i.e. Gila monster) family. All three of these
family classes of reptiles have been deemed “detrimental animals” because they pose a threat to
native wildlife, the agriculture interests of the state or to public health or safety.
3
  14 CCR § 1.67 defines “native reptiles and amphibians” as “those subspecies, and species,
including all color phases, of the classes Reptilia and Amphibia indigenous to California. This
definition includes all specimens regardless of their origin even if they were produced in captivity.”
                                                   5
    Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 7 of 33 Page ID #:7




                          V. STATEMENT OF PROBABLE CAUSE

12.     On July 5, 2020, a FWS cooperating private individual 502 (“CPI-502”) 4 met SNEDDON

at the Repticon show in Columbia, South Carolina. SNEDDON stated that he was originally from

Orlando, Florida but currently lived in Los Angeles, California. SNEDDON showed CPI-502 his

Speckled Rattlesnakes and Sidewinder Rattlesnakes that were from Riverside, California and La

Paz County, Arizona. SNEDDON verbally provided CPI-502 his mobile telephone number, 407-

694-8077. 5

13.     Throughout the course of the investigation, CPI-502 made and received calls to the

SNEDDON using the number ending in 8077 that SNEDDON provided. All text and calls with

SNEDDON on that number were recorded and I have personally reviewed all of the recordings

and text messages.

14.     On July 12, 2020, CPI-502 called SNEDDON via his mobile telephone to inquire whether

he had anything to sell. SNEDDON stated that he usually sold wholesale and cheap, and that each

crate he created contained twenty-five to thirty reptiles. SNEDDON stated that he was currently

in Florida, and it would take a week to return to the west coast. He stated he planned on stopping

at several spots along the way to collect reptiles in Texas, New Mexico, Arizona, and California.

SNEDDON stated that he shipped all of his reptiles out of the Los Angeles International Airport

(LAX) and the Delta Air Cargo Facility and to coordinate the illegal shipments of wildlife that he


4
  Within the last three years, CPI-502 has been working with FWS in an undercover capacity and
assisting in its pursuit of investigatory leads in cases involving the illegal interstate transportation
and sale of various wildlife species. CPI-502 agreed to voluntarily provide investigatory assistance
to FWS after FWS identified him as someone who was established within the reptile trade and
considered as a subject matter expert in handling venomous reptiles. CPI-502 has no criminal
history.
5
  This is the only phone number that the SNEDDON ever used to communicate with CPI-502 with
during the course of the investigation.
                                                   6
    Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 8 of 33 Page ID #:8




collected and sold.     SNEDDON’s illegal wildlife trafficking business, operating under the

fictitious business name of West Coast Reptile Exchange, has been fairly active during the course

of the investigation with repeated contacts denoting illegal transactions, shipments (air waybills),

information regarding collecting or take locations in the Southwestern States (including but not

limited Arizona, California, Nevada, Texas, and New Mexico). SNEDDON’s wildlife transactions

were captured in recorded conversations during the contacts with CPI-502. SNEDDON revealed

information regarding reptiles that were for sale (listed as a cold-blooded animal-rattlesnakes) and

he also indicated how he would falsely label his shipments. Based on my experience and training,

I know that individuals involved in illegal wildlife trafficking will utilize various methods of

packaging, labeling, and transport to conceal wildlife shipments and to evade law enforcement

detection.

15.       At the early stages of my investigation into SNEDDON’s distribution network, SNEDDON

described his business practices to CPI-502. SNEDDON informed CPI-502 that the packages he

created were filled with various reptile species, including but not limited to native rattlesnakes,

native non-venomous snakes, lizards, and other species. SNEDDON informed CPI-502 that he

sold his packages at a wholesale price cheap enough to allow his buyers to set a market price high

enough to make money. SNEDDON instructed his buyers that they had to purchase a whole

package, not just part of it. SNEDDON often directed CPI-502 as to what market and retail values

for certain native snakes and the prices that they should be offered and sold for. As CPI-502 began

to earn SNEDDON’s trust, SNEDDON told CPI-502 about how he would mislabel shipments or

the contents of containers to avoid detection by law enforcement (e.g., Red Diamond Rattlesnakes6

would be labeled as Crotalus atrox which is the Latin word for Western Diamondback


6
    Pursuant to 14 CCR § 5.60(b)(65), persons may not capture Red Diamond rattlesnakes.
                                                 7
  Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 9 of 33 Page ID #:9




Rattlesnake). SNEDDON described in detail the locations of the various state and hunting grounds

where the reptiles that he collected were taken from. The scope of the investigation ultimately

broadened as SNEDDON discussed other buyers he supplied to in South Carolina, North Carolina,

Pennsylvania, and Texas.        My review of SNEDDON’s financial records indicated that he

maintained a wide distribution network of buyers for his illegally taken reptiles that he sold

throughout the United States.

            First Undercover Sale of Reptiles from California to South Carolina

16.    On July 28, 2020, CPI-502 received a telephone call from SNEDDON to negotiate the sale

of numerous reptiles SNEDDON had ready for sale. CPI-502 and SNEDDON exchanged text

messages that day to finalize CPI-502’s initial purchase of an itemized list of various species of

snakes, scorpions, lizards and geckos with their respective prices. SNEDDON agreed to a total

price of $2,645 plus $100 for shipping with Delta Air Cargo and that he would ship wildlife in a

single packaged container.

                      1 Mojave Shovel Nosed Snake, Established

                      and Eating Live Meal Worm......... 40

                      1.0 Long Nose Snake................... 40

                      1.0 Pastel Ball Python.................. 80

                      1 Leaf Nosed Snake.................. 25

                      1 Desert Glossy Snake.............. 20

                      1.1 Great Basin Gopher Snakes, LTC

                      Proven Breeding Pair................. 300 pr

                      1.0 Western Diamondback.......... 60

                      1.1 Blue Spec Rattlesnakes....... 350 pr

                                                8
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 10 of 33 Page ID #:10




                          1.0 Southwestern Speckled........ 150

                          3.5 Colorado Sidewinders......... 60 ea

                          0.3 Colorado Sidewinders (Very Heavily

                          Gravid)................................150 ea

                          1.0 Mojave Sidewinder................ 60

                          1 Sonoran Lyre Snake............. 150

                          1.1 2' Uganda Puff Adders....... 200 pr

                          1.1 African Bush Vipers............ 200 pr

                          1 Desert Hairy Scorpion............ 10

                          1 Western Banded Gecko.......... 10

                          1 Desert Horned Lizard.............. 20

                          Total 2,645

                          + 100 Delta Shipping

17.     SNEDDON informed CPI-502 that he could be paid by PayPal, Cashout, Venmo or direct

deposit into his Wells Fargo account. SNEDDON stated that due to COVID-19 restrictions,

Atlanta, Georgia would be the closest airport Delta Airlines would ship to for South Carolina.

SNEDDON asked CPI-502 to provide a copy of the driver’s license of the person picking up the

package so that SNEDDON could ship it with the correct spelling of the person’s name. CPI-502

provided SNEDDON with my covert name and address as the person that would receive the crate

at the Atlanta airport.

18.     On July 29, 2020, SNEDDON sent a screenshot of his Venmo account name,

“@inkslinger407”, via text message to CPI-502’s mobile telephone. SNEDDON stated that he




                                              9
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 11 of 33 Page ID #:11




would book the flight as soon as he received the money and agreed to book the flight to be shipped

on August 2, 2020.

19.    That   day,   I electronically    wired    $2,745   to   SNEDDON’s      Venmo     account,

“@inkslinger407” for the thirty-one (31) reptiles that were agreed upon between CPI-502 and

SNEDDON. Venmo confirmed payment by sending notification to my covert email account.

SNEDDON later sent a text message to CPI-502 confirming that he received the money.




20.    On July 30, 2020, SNEDDON sent a screenshot to CPI-502 reflecting the electronic Air

Waybill: # 006-89726372, which displayed the flight information for Delta Cargo flight number

DL936 departing LAX (Los Angeles, California), Sunday, August 2, 2020, at 10:00 pm and

arriving in Atlanta, Georgia on Monday, August 3, 2020, at 5:14 am. Shipping details such as

weight, volume and dimensions of the container were also included. A copy of the screenshot

provided by SNEDDON to CPI-502 is attached below.




                                                 10
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 12 of 33 Page ID #:12




21.    On August 2, 2020, SNEDDON sent CPI-502 photographs via text message from his

mobile telephone. Below, SNEDDON photographed the shipping container and its internal

contents.




                                         11
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 13 of 33 Page ID #:13




22.    On August 2, 2020, CPI-502 received a telephone call from SNEDDON explaining how

the snake’s containers were mislabeled. 7 The wildlife shipment included, but was not limited to,

California native reptiles such as the Mojave Shovel Nosed Snake, Blue Spec Rattlesnakes, Great

Basin Gopher Snake, Long Nosed Snake, Sonoran Lyre Snake, Western Diamondback

Rattlesnake, Colorado Sidewinder, and the Mojave Sidewinder. The shipment also included

California live restricted species, including Uganda Puff Adders and African Bush Vipers.

SNEDDON informed CPI-502 to be careful opening the containers because they weren't properly

labeled as to what they actually were. SNEDDON stated again that he was planning to spend

August 12-26th hunting for reptiles throughout southern California, Arizona, New Mexico, West

Texas, Oklahoma, Arkansas and traveling back to central California on I-40. SNEDDON stated

that his goal was to collect 100 rattlesnakes and drive to Columbia, SC for the August 29 and 30th

Repticon Show.

23.    On August 3, 2020, I picked up the shipment identified in Air Waybill: # 006-89726372.

The container contained all of the species that I purchased from SNEDDON identified in the list

set forth in Paragraph 18.

24.    According to the License and Revenue Branch under California Department of Wildlife

and Fisheries, SNEDDON has never possessed a valid Native Reptile Captive Propagation Permit

to import, export, sell and transport for commercial purposes any native reptiles, restricted species

or any other permits on file.




7
 The Lacey Act also prohibits conduct where an individual knowingly made, submitted, a false
record, account, label, or identification of wildlife which were intended to be transported and
sold in interstate commerce. See Title 16, United States Code, Section 3372(d)(1),
3373(d)(3)(A).
                                                 12
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 14 of 33 Page ID #:14




25.       On August 12, 2020, SNEDDON called CPI-502 via his mobile cellular telephone to advise

that he picked up a couple of Gila Monsters while road cruising but wasn’t sure if he was going to

sell them yet. SNEDDON stated that he would begin his hunt near Joshua Tree National Forest;

then continue to travel east, stopping to hunt in Borrego Springs, Quartsite Mountains, Yuma,

Phoenix, Tucson, Gila Mountains in New Mexico, Franklin Mountains of west Texas, and stop at

a couple of spots along I-40 across northern Arizona and New Mexico into California through the

Mojave National Preserve near Death Valley

26.       On August 18, 2020, CPI-502 received a telephone call from SNEDDON’s mobile

telephone to negotiate the sale of a Red Diamond rattlesnake (“Ruber”) 8 with a shipment of snakes

that SNEDDON agreed to sell. SNEDDON stated he could not ship the Ruber because if “We get

caught shipping that, it’s prison time for both of us.” SNEDDON stated that he doesn’t trust

shipping that one. He further stated, “When you ship stuff like that, you get into a federal Lacey

Act violation. You’re talking like, actual prison time at that point.” SNEDDON stated, “Those

Ruber’s are endangered and protected in California.”

             Second Undercover Sale of Reptiles from California to South Carolina

27.       On August 19, 2020, CPI-502 received two text messages from SNEDDON that contained

a list of reptiles for sale. CPI-502 agreed to purchase all the reptiles listed except the two West

African Gaboon Vipers and one Eastern Diamondback rattlesnake. The total cost for forty-nine

species was $1,828 plus $100 shipping via Delta Airlines. A copy of the screenshot provided by

SNEDDON to CPI-502 is attached below.




8
    Pursuant to 14 CCR § 5.60(b)(65), persons may not capture Red Diamond rattlesnakes.
                                                13
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 15 of 33 Page ID #:15




28.   On August 19, 2020, I electronically wired $1,928 to SNEDDON’s Venmo account,

“@inkslinger407” for forty-nine (49) reptiles that were agreed upon between CPI-502 and

SNEDDON. Venmo confirmed payment by sending notification to my covert email account.

SNEDDON later confirmed receipt of the money verbally on a telephone call with CPI-502. A

copy of the Venmo payment screenshot to SNEDDON is attached below.




                                           14
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 16 of 33 Page ID #:16




29.    SNEDDON sent a text message to CPI-502 containing a screenshot of his computer laptop

monitor via his mobile telephone. The screenshot sent to CPI-502 reflects the electronic Air

Waybill: # 006-63502375 which displays the flight information for Delta Cargo flight number

DL1079 departing LAX (Los Angeles, California), Thursday, August 20, 2020, at 4:00 pm PST

and arriving in Atlanta, GA at 11:16 pm EST. Shipping details such as weight, volume and

dimensions of the container were included. A copy of the screenshot provided by SNEDDON to

CPI-502 is attached below.




30.    On August 20, 2020, SNEDDON sent CPI-502 photographs via text message from his

mobile telephone. SNEDDON photographed the shipping container on a scale, its internal




                                            15
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 17 of 33 Page ID #:17




contents, shipping label, the shipping invoice reflecting SNEDDON’s signature releasing the

container to Delta Air Lines Inc.




31.    On August 21, 2020, I received the reptile shipment from SNEDDON at Delta Cargo in

Atlanta, GA. The package received was a black container with a yellow lid secured with zip ties.

The container and label matched the photographs that SNEDDON sent CPI-502 via his mobile

telephone. The shipment contained all of the species that were purchased from SNEDDON as

indicated in Paragraph 27. Those species taken in violation of California law included California

native reptiles were the Mojave Shovel Nosed Snake, Blue Spec Rattlesnakes, Great Basin Gopher

Snake, Long Nosed Snake, Sonoran Lyre Snake, Western Diamondback Rattlesnake, Colorado

Sidewinder, and the Mojave Sidewinder. In addition, California live restricted species include,

but are not limited to, Uganda Puff Adders and African Bush Vipers.

            Third Undercover Sale of Reptiles from California to South Carolina




                                               16
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 18 of 33 Page ID #:18




32.    On August 27, 2020, CPI-502 received a text message from SNEDDON’s mobile

telephone containing a screenshot of an updated list of reptiles available for sale. A copy of the

screenshot provided by SNEDDON to CPI-502 is attached below.




33.    Later that same day, CPI-502 called SNEDDON on his mobile telephone number and

inquired as to where SNEDDON was staying while he was in Columbia, SC. SNEDDON replied

and stated that he would be at the Red Roof Inn near the Repticon Show. SNEDDON subsequently

changed his motel to the Motel 6.

34.    On August 28, 2020, CPI-502 agreed to meet with SNEDDON in person at the Motel 6,

located at 1776 Burning Tree Drive, Columbia, SC 29210, Room 125. CPI-502 and SNEDDON




                                               17
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 19 of 33 Page ID #:19




negotiated the sale of two Blue Speckled rattlesnakes, one Red Speckled rattlesnake, one Red

Diamond rattlesnake and two Desert Horned lizards for a total price of $880.

35.       On August 31, 2020, CPI-502 called SNEDDON’s mobile telephone to inquire when the

next shipment of reptiles would be ready to ship. SNEDDON stated that his hunting season would

end after the next few weeks. SNEDDON stated that the guys he’s connected to doing snake

removal may come up with random snakes here and there.

36.       SNEDDON also discussed a potentially gravid 9 Red Diamond rattlesnake (“Crotalus

Ruber”) with CPI-502 that was captured in Orange County, California, after getting stuck in the

wire fencing of a chicken enclosure. SNEDDON stated that he had a partner in Orange County

with a snake removal service that he would pick up snakes from occasionally.

37.       During an investigative search in an Orange County snake removal service, I later

identified that SNEDDON was working with RYAN JESSUP (“JESSUP”), owner of RYAN’S

RATTLESNAKE RESCUE (“RRR”). SNEDDON ’s story about the snake getting stuck in the

fence was corroborated by a video that JESSUP uploaded onto his RRR’s Facebook page.

                Fourth Undercover Sale of Reptiles from Texas to South Carolina

38.       On September 8, 2020, CPI-502 called SNEDDON ’s mobile telephone to discuss his travel

plans from California to Texas with Rubers and a Gila Monster he was picking up from a girlfriend

in Tucson, Arizona.

39.       On September 13, 2020, CPI-502 called SNEDDON’s mobile telephone to negotiate

payment and shipment of another crate of reptiles. SNEDDON asked CPI-502 how and when he



9
    “Gravid” means the snake is carrying fertile eggs.
                                                  18
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 20 of 33 Page ID #:20




would receive payment for his crate. CPI-502 asked for a complete list and then the money would

be sent via Venmo.

40.    On September 15, 2020, CPI-502 received a text message from SNEDDON’s mobile

telephone with the Delta Airline shipping information, “Waybill #006-64314515, leaving San

Antonio at 550p”.

41.    On September 16, 2020, CPI-502 received a text message from SNEDDON’s mobile

telephone stating, “Not much luck tonight. A bunch of Arizona blond Tarantula's. It's getting too

cold out here at night now so unfortunately this is it for the year. This is the final list. You owe

me 3,307 shipped. The flight has already been booked and confirmed. I'm dropping the crate off

at San Antonio delta Thursday morning and it will arrive in Atlanta, Thursday afternoon. Your

friend can pick it up first thing Friday morning if he is available.” A copy of the screenshot

provided by SNEDDON to CPI-502 is attached below.




                                                19
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 21 of 33 Page ID #:21




42.   On September 16, 2020, using a Venmo App, I electronically wired $3,307 to

SNEDDON’s Venmo account, “@inkslinger407” for thirty-four (34) reptiles that were agreed

upon between CPI-502 and SNEDDON. Venmo confirmed payment by sending notification my

covert email account. SNEDDON confirmed receipt of the money via text message to CPI-502.




                                            20
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 22 of 33 Page ID #:22




43.    On September 18, 2020, I received a black crate with a yellow lid secured with zip ties

from SNEDDON at Delta Airlines in Atlanta, GA on flight DL1137S. A Delivery Slip and receipt

accompanied the shipment.     Nature of goods was described as “Cold Blooded Animal-

Rattlesnake.” The shipment contained all of the species that were purchased from SNEDDON as

identified in Paragraph 41 with the exception of the Gila Monster, due to its demise from an

unknown illness before it was shipped. SNEDDON refunded $600 to my covert bank account.

            Fifth Undercover Sale of Reptiles from California to South Carolina

44.    On November 7, 2020, CPI-502 received a text message from SNEDDON that contained

a list of reptiles available for sale. A copy of the screenshot provided by SNEDDON to CPI-502

is attached below.




45.    On November 11, 2020, CPI-502 sent a text message to SNEDDON notifying him that

CPI-502 was only interested in the adult Red Diamond Rattlesnakes (“Rubers”). SNEDDON



                                             21
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 23 of 33 Page ID #:23




agreed and booked shipping with Delta Airlines. Air Waybill #006-66246062 for a non-stop flight

from Los Angeles, CA to Atlanta, GA on Delta Cargo flight number DL371. The flight departed

on Thursday, November 12, 2020, at 10:10 PM PST and arrived at 5:00 AM EDT on Friday,

November 13, 2020. A copy of the screenshot provided by SNEDDON to CPI-502 is attached

below.




46.      On November 12, 2020, using a Venmo App, I electronically wired $3,100 to SNEDDON’s

Venmo account, “@inkslinger407” for ten (10) Red Diamond rattlesnakes that were agreed upon

between CPI-502 and SNEDDON. Venmo confirmed payment by sending notification to my

covert email account. SNEDDON later confirmed receipt of the money via text message to CPI-

502.

47.      On November 13, 2020, I received the reptile shipment from SNEDDON at Delta Cargo

in Atlanta, Georgia. The delivery slip and receipt stated under "Nature of Goods", "COLD


                                              22
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 24 of 33 Page ID #:24




BLOODED ANIMAL-CROTALUS ATROX RATTLESNAKES".                                          Crotalus Atrox is the

scientific name for a Western Diamondback Rattlesnake. CPI-502 Purchased Red Diamond

rattlesnakes (Crotalus ruber) as advertised by SNEDDON. Below are pictures of containers

falsely labeled as Crotalus atrox containing Red Diamond rattlesnakes (“Rubers”). As stated

above, Red Diamond rattlesnakes are illegal to capture and/or sell in California. 10




48.        On or after September 16, 2020, I accepted a friend request on Venmo from SNEDDON.

The Venmo transaction history revealed that SNEDDON had three transactions where money was

exchanged with a BRYANT J. TUCK (“TUCK”). One of the three transactions reflect a purchase

by SNEDDON for $1,050.00 on November 11, 2020, with a snake symbol displayed in the memo

section of the transaction.



10
     Pursuant to 14 CCR § 5.60(b)(65), persons may not capture Red Diamond rattlesnakes.

                                                         23
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 25 of 33 Page ID #:25




49.    I conducted a Google and Facebook search for TUCK and found that he owned a snake

removal service in San Diego County called TNT SNAKE REMOVAL AND RESCUE.

SNEDDON and JESSUP are both Facebook friends with TUCK.

            Sixth Undercover Sale of Reptiles from California to South Carolina

50.    On October 24, 2021, CPI-502 received a text message from SNEDDON that contains a

screenshot of a list of reptiles SNEDDON was offering for sale. A copy of the screenshot provided

by SNEDDON to CPI-502 is attached below.




SNEDDON stated the total for the package is $1,495 plus $100 for shipping via Delta

Airlines.

51.    On October 25, 2021, CPI-502 called SNEDDON via his mobile telephone number XXX-

XXX-8077. SNEDDON offered a pair of Banded Rock Rattlesnakes to CPI-502 for $400.

                                               24
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 26 of 33 Page ID #:26




SNEDDON stated that he had them in his personal collection for three years and thought the female

was gravid.

52.    CPI-502 received a text message from SNEDDON containing a photograph of two (2)

Banded Rock rattlesnakes. See the attached photograph below.




53.    On October 26, 2021, using Venmo, I electronically wired $1,595 including $100 for Delta

Air Cargo Shipping to SNEDDON’s Venmo account, “@inkslinger407” for Red Diamond

Rattlesnakes, Colorado Sidewinders, Southern Pacific Rattlesnakes, Speckled Rattlesnakes, and a

Desert Hairy Scorpion.

54.    CPI-502 received a telephone call that day from SNEDDON offering to negotiate a pair of

adult Rubers he was brokering for his friend. SNEDDON stated that they were for sale for $550

if CPI-502 was interested. CPI-502 agreed to the purchase and I electronically wired $550 to

SNEDDON’s Venmo account, “@inkslinger407” for two (2) Red Diamond Rattlesnakes.

55.    Venmo confirmed payment by sending notification to my covert email account.

SNEDDON confirmed receipt of the money via text message to CPI-502. Below, I attached the

confirmation of payment from Venmo and the recorded text message.




                                               25
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 27 of 33 Page ID #:27




56.    On October 27, 2021, CPI-502 received a text message from SNEDDON that contained a

screenshot of his mobile telephone depicting an electronic Air Waybill (eAWB) #006-78750490,

Flight Information: From Los Angeles (LAX) to Greenville/Spartanburg (GSP) to be dropped off

by 8:40 PM, 10/27/2021, Flight DL309. A copy of the screenshot provided by SNEDDON to

CPI-502 is attached below.




                                            26
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 28 of 33 Page ID #:28




57.    On October 28, 2021, CPI-502 received and picked up a crate sent by SNEDDON to the

Greenville/Spartanburg Airport shipped via Delta Airlines. The shipment contained all of the

species that were purchased from SNEDDON as indicated in Paragraphs 52 and 54.

58.     On February 25, 2022, CPI-502 received a text message from SNEDDON asking CPI-502

to give him a call for a special animal that CPI-502 would love.

59.    On February 27, 2022, CPI-502 returned SNEDDON’s telephone call. SNEDDON

informed CPI-502 that he was brokering the sale of a Gila Monster for one of his friends in Las

Vegas, Nevada and that he wanted $1,500 for it.




                                               27
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 29 of 33 Page ID #:29




60.    On March 7, 2022, CPI-502 sent SNEDDON a text message stating that the earliest that he

could pay for the Gila Monster was March 10th. SNEDDON replied with a thank you and stated

he would give CPI-502 a good deal on any rattlesnakes he could pack into the same crate.

61.    On March 10, 2022, I electronically wired $1,500 to SNEDDON’s Venmo account,

“@inkslinger407” for one (1) Gila Monster to be shipped later with other species of reptiles in a

crate from Los Angeles, California. The word, “Lizard” was used in leu of “Gila” in the comments

section of the payment. A copy of the screenshot from Venmo is attached below.




62.    CPI-502 received a text message from SNEDDON stating that he received the money and

he sent it to the guy who was selling the Gila Monster.

63.    On March 16, 2022, CPI-502 called SNEDDON via his mobile telephone number XXX-

XXX-8077 and negotiated the sale of four (4) Red Diamond Rattlesnakes, five (5) Southern

Pacific Rattlesnakes and one (1) Tiger Rattlesnake to be shipped with the Gila Monster on

Tuesday, March 22, 2022, from Los Angeles International Airport at the Delta Air Cargo

Facility. SNEDDON informed CPI-502 that the Rubers would be intentionally mislabeled as

“Red Atrox Rattlesnakes”.

64.    On March 16, 2022, CPI-502 received a text message from SNEDDON that contained a

list of rattlesnakes that he mentioned in his telephone call earlier with prices for each that totaled

$1,350. A copy of the recorded text message is attached below.
                                                  28
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 30 of 33 Page ID #:30




65.    On March 16, 2022, CPI-502 received photographs via text message from SNEDDON

via his mobile telephone number XXX-XXX-8077. The photographs below depict a Gila

Monster that I purchased for $1,500 as described in paragraph 61.




66.    On March 17, 2022, I electronically wired $1,350 to SNEDDON’s Venmo account,

“@inkslinger407,” for four (4) Red Diamond Rattlesnakes at $225 each, five (5) Southern

Pacific Rattlesnakes, and one (1) Tiger Rattlesnake at $200. A copy of the screenshot from

Venmo is attached below.




                                               29
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 31 of 33 Page ID #:31




67.    On March 19, 2022, CPI-502 received a text message from SNEDDON containing a

screenshot from his mobile telephone of an electronic Air WayBill (eAWB) #006-84346032,

Flight information: From Los Angeles (LAX) to Greenville/Spartanburg (GSP) to be dropped off

by 9:35 AM, 03/22/2022. A copy of the screenshot provided by SNEDDON to CPI-502 is

attached below.




                                             30
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 32 of 33 Page ID #:32




68.    Based on my experience and training, the commercial distribution of illegally harvested

wildlife that has been taken and collected from the Southwestern regions of the United States has

a detrimental impact on wildlife species, for the following reasons: 1) illegal takes decimate

local populates, 2) trafficking creates a demand for native species and an illegal market place,

and 3) creates a public safety concern for the wildlife trafficked due to the lack of proper

packaging, e.g. here reptiles were shipped in Tupperware and plastic containers without food and

                                                 31
Case 2:22-cr-00165-MCS Document 1 Filed 03/21/22 Page 33 of 33 Page ID #:33




water which risk their very survival. In addition, there is a practical safety concerns for any

person who handles the mislabeled wildlife packages that were sent by SNEDDON due to the

inherently dangerous nature of some of the species sold. I also know that Fish and Wildlife

agencies throughout the United States are unable to release illegally collected reptiles back into

the wild due to viruses, parasites, and diseases that they may contract from other reptiles

involved the pet trade. These native species must ultimately be rehomed in a zoo or elsewhere.

                                         CONCLUSION

69.     Based on my training and experience, there is probable cause to believe that SNEDDON

violated Title 18, United States Code, Section 3372 (a)(2)(A), 3373(d)(1)(B) (wildlife

trafficking).



                                                                   /s/
                                                              _________________________
                                                              Tracey Woodruff
                                                              Special Agent
                                                              U.S. Fish and Wildlife Service




Subscribed and sworn to before me this 21st day of March 2022.



                                                              ___________________________
                                                              The Honorable John McDermott
                                                              United States Magistrate Judge




                                                 32
